               Case 2:22-cv-00771-JLR Document 31 Filed 01/04/23 Page 1 of 2




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                                                                            Honorable James L. Robert
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 7                                    UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF WASHINGTON
 8                                             AT SEATTLE
 9   ROTHSCHILD BROADCAST
10   DISTRIBUTION SYSTEMS, LLC,                            No.: 2:22-cv-00771-JLR

11                     Plaintiff,                          NOTICE OF VOLUNTARY DISMISSAL
                                                           WITH PREJUDICE
12           v.
13   CREATIVELIVE, INC.,
14
                       Defendants(s).
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16
17
                           NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
18
             Plaintiff Rothschild Broadcast Distribution Systems, LLC (“Plaintiff” and/or “RBDS”)
19
20   files this Notice of Voluntary Dismissal With Prejudice pursuant to Federal Rule of Civil Procedure

21   41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action may be dismissed by the plaintiff
22
     without order of court by filing a notice of dismissal at any time before service by the adverse party
23
24   of an answer. Accordingly, Plaintiff hereby voluntarily dismisses this action against Defendant

25   CreativeLive, Inc., with prejudice, pursuant to Rule 41(a)(1)(A)(i) with each party to bear its own
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     fees and costs.
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      NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE - 1                       MEYLER LEGAL, PLLC
      (Case No. 2:22-cv-00771-TLF)                                      1700 WESTLAKE AVE. N., STE 200
                                                                         SEATTLE, WASHINGTON 98109
                                                                      TEL: (206) 876-7770  FAX: (206) 876-7771
               Case 2:22-cv-00771-JLR Document 31 Filed 01/04/23 Page 2 of 2




     Dated: January 4, 2023.                             Respectfully submitted,
 1
 2                                                       /s/Jay Johnson
                                                         JAY JOHNSON (Admitted PHV)
 3
                                                         TX State Bar No. 24067322
 4                                                       D. BRADLEY KIZZIA
                                                         TX State Bar No. 11547550
 5
                                                         KIZZIA JOHNSON, PLLC
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12                                                       SAMUEL M. MEYLER, WSBA #39471
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14                                                       Tel: 206-876-7770
                                                         Fax: 206-876-7771
15                                                       E-mail: samuel@meylerlegal.com
16
                                                         Counsel for Plaintiff Rothschild Broadcast
17                                                       Distribution Systems, LLC
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                                      CERTIFICATE OF SERVICE
19
20            I hereby certify that on January 4, 2023, I electronically transmitted the foregoing
     document using the CM/ECF system for filing, which will transmit the document electronically
21   to all registered participants as identified on the Notice of Electronic Filing, and paper copies
22   have been served on those indicated as non-registered participants.

23                                                       /s/Jay Johnson
                                                         JAY JOHNSON (Admitted PHV)
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      NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE - 2                      MEYLER LEGAL, PLLC
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